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 1 ISMAIL J. RAMSEY (CABN 189820)
   United States Attorney
 2
   MARTHA BOERSCH (CABN 126569)
 3 Chief, Criminal Division

 4 CHRISTIAAN HIGHSMITH (CABN 296282)
   DAVID WARD (CABN 239504)
 5 Assistant United States Attorneys

 6 MATTHEW CHOU (CABN 325199)
   Special Assistant United States Attorney
 7
          450 Golden Gate Avenue, Box 36055
 8        San Francisco, California 94102-3495
          Telephone: (415) 436-7200
 9        FAX: (415) 436-7230
          christiaan.highsmith@usdoj.gov
10        david.ward@usdoj.gov
          matthew.chou2@usdoj.gov
11
   Attorneys for United States of America
12
                                    UNITED STATES DISTRICT COURT
13
                                 NORTHERN DISTRICT OF CALIFORNIA
14
                                        SAN FRANCISCO DIVISION
15

16   UNITED STATES OF AMERICA,               )   CASE NO. 20-CR-00249 RS
                                             )
17           Plaintiff,                      )   UNITED STATES’ DISCLOSURE OF
                                             )   REBUTTAL EXPERT TESTIMONY BY
18      v.                                   )   COMPUTER SCIENTIST DR. MATTHEW J.
                                             )   EDMAN
19   ROWLAND MARCUS ANDRADE,                 )
                                             )   Trial:               Feb. 10, 2025 | 9:00 a.m.
20           Defendant.                      )   Court:               Courtroom 3 | 17th Floor
                                             )   Judge:               Hon. Richard Seeborg
21                                           )

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 1 I.       INTRODUCTION

 2          The United States hereby discloses, pursuant to Federal Rule of Criminal Procedure 16(a)(1)(G)

 3 and Federal Rule of Evidence 702, the expert testimony of computer scientist Matthew J. Edman, Ph.D.,

 4 which the United States may offer in the trial of this case. The United States intends to call Dr. Edman to

 5 rebut the proffered testimony of defense expert Erik Min. Mr. Min reviewed what purports to be “source

 6 code and databases associated with AML Bitcoin,” Dkt. 448 at 2 (Min Disclosure), that were produced

 7 to the government on about January 22, 2025. See Dkt. 503 ¶¶ 8–14 (US Mot. for Complete Min

 8 Disclosure); Dkt. 521 (order granting and denying in part Dkt. 503). The United States therefore

 9 provides the disclosure noted below. The United States may supplement or amend Dr. Edman’s

10 disclosures in response to supplemental opinions offered by Mr. Min—such as ones pertaining to

11 AtenCoin that the Court has ordered the defense to disclose by February 5, 2025, see Dkt. 521 at 2–3—

12 or if Dr. Edman becomes aware of additional information relevant to the opinions disclosed herein.

13 II.      EXPERT’S BACKGROUND AND QUALIFICATIONS

14          1.     Dr. Edman is a Partner and Co-Founder of NAXO Labs LLC (“NAXO”), a cybersecurity

15 and investigations firm located in New York, NY, specializing in crypto assets and digital forensic

16 investigations. Dr. Edman’s education, training, and professional experience, as explained below, as well

17 as his analysis of the materials cited herein, fully qualify him to offer the expert opinions contained in

18 this disclosure. A copy of Dr. Edman’s curriculum vitae is attached as Exhibit 1.

19          2.     Dr. Edman holds the following academic degrees: (a) Ph.D., Computer Science,

20 Rensselaer Polytechnic Institute (2011); (b) M.S., Computer Science, Rensselaer Polytechnic Institute

21 (2007); and (c) B.S., Computer Science, Baylor University (2005). His professional training includes the

22 following industry-recognized certifications related to cryptocurrency investigations: Chainalysis

23 Reactor Certification (“CRC”), Chainalysis Ethereum Investigations Certification (“CEIC”), and

24 Chainalysis Investigation Specialist Certification (“CISC”). Dr. Edman also holds a AccessData

25 Certified Examiner (“ACE”) credential, which is a certification recognized in the field of digital

26 forensics.

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 1          3.     In addition to his education and training, Dr. Edman has reviewed source code

 2 professionally for over 15 years and has over a decade of professional experience conducting

 3 cryptocurrency and digital forensic investigations.

 4          4.     From 2009 to 2013, Dr. Edman was employed as a Lead Cyber Security Engineer at The

 5 MITRE Corporation where he primarily supported the FBI’s Remote Operations Unit in Quantico, VA,

 6 on various matters related to the investigation of darknet marketplaces and other illicit uses of crypto

 7 assets. He led the technical efforts to identify the technical infrastructure hosting the Silk Road

 8 marketplace, which was a darknet marketplace that facilitated the sale of drugs and other illicit items in

 9 exchange for Bitcoin.

10          5.     From 2013 to 2014, he was employed as a Senior Vulnerability Engineer by Bloomberg,

11 LP, a global financial services, software, and media company. As a member of the firm’s Vulnerability

12 Analysis Team, Dr. Edman’s responsibilities included source code reviews, design reviews, penetration

13 testing, and “red team” analysis of the firm’s internal and third-party applications, networks, and

14 websites.

15          6.     From 2014 to 2015, Dr. Edman was employed as a Senior Director in FTI Consulting,

16 Inc.’s Global Risk and Investigations Practice in the Cyber Security & Investigations Group. His work

17 included conducting cryptocurrency investigations and digital forensic analysis for multiple clients,

18 including for the U.S. Attorney’s Office for the Southern District of New York.

19          7.     From 2015 to 2022, Dr. Edman was employed by Berkeley Research Group, LLC

20 (“BRG”), a global strategic advisory and expert consulting firm, as a Director in BRG’s Cyber

21 Operations & Incident Response practice where he regularly provided expert consultation to clients

22 regarding the investigation and analysis of addresses and transactions related to numerous different

23 crypto assets, including Bitcoin and Ethereum.

24          8.     Since co-founding NAXO in 2022, Dr. Edman has testified as an expert in the fields of

25 blockchain analysis and source code review in the United States District Court for the Southern District

26 of New York, including most recently in the matter of Securities and Exchange Commission v. Terraform

27 Labs Pte. Ltd. and Do Hyeong Kwon (1:23-cv-01346-JSR). A summary of his prior testimony is

28 included in Exhibit 1.

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 1 III.     EXPERT OPINIONS

 2          9.     If called as a witness at trial, Dr. Edman could testify as an expert regarding the following

 3 opinions he has formed after reviewing: (i) the pleadings in this case; (ii) the disclosures submitted by

 4 the Defendant’s proposed cryptocurrency expert, Mr. Erik Min (Dkt. 448); (iii) the materials Mr. Min

 5 provided in connection with those disclosures; (iv) the AML Bitcoin Whitepaper; 1 (v) interview reports

 6 of AML Bitcoin developers who are expected to testify at trial; and (vi) any other materials cited herein

 7 which Dr. Edman relied on in forming his expert opinions.

 8          A.     The documents Mr. Min relied upon in forming his opinions regarding the
                   purported development of AML Bitcoin are unreliable and insufficient to
 9                 substantiate those opinions.

10          10.    The opinions disclosed by Mr. Min rely on his 2 analysis of certain “source code and

11 databases associated with AML Bitcoin.” (Min Discl. at 2.) Based on that analysis, Mr. Min concludes

12 that “there is evidence of consistent and substantial development work conducted prior to late 2018” and

13 that “timestamps and other records show[] substantial and consistent development of the underlying

14 biometric verification software (and associated web and mobile applications) between March 2017 and

15 November 2018.” (Min Discl. at 4.)

16          11.    Dr. Edman will testify that based on his review of the materials relied on by Mr. Min, Mr.

17 Min’s conclusions regarding when certain source code was created or modified are based on data that is

18 incomplete, cannot be reliably verified, and would not generally be relied on by other experts to offer an

19 opinion as to on when certain source code was developed.

20          12.    Mr. Min’s disclosures make repeated reference to “numerous source code repositories”

21 stored on “‘BitBucket,’ a cloud-based platform that enables teams of developers to write and store

22 source code” and other files. (Min Discl. at 3.) Dr. Edman will testify that software developers and

23 development teams frequently use a computer program called “Git” to create, store, access, modify, and

24

25          1
            There are several versions of the White Paper, and they are similar. Dr. Edman has so far
   reviewed a version designated “v1.1” that Mr. Andrade emailed on October 4, 2017. See
26
   ANDRADE_DOJ_00022158 (email); ANDRADE_DOJ_00022160 (White Paper).
27        2
            Mr. Min’s expert disclosures conspicuously only reference “FTI’s” analysis of certain source
   code which Mr. Min relied on in forming his opinions (see, generally, Min Discl. at 2-4, 7-8), but his
28
   disclosures do not make clear what, if any, Mr. Min’s role was with respect to “FTI’s” analysis.
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 1 share source code in “BitBucket repositories,” as Mr. Min refers to them. Dr. Edman’s testimony will

 2 describe how: (i) a Git “repository” is a collection of related source code and other files managed by the

 3 Git software, including source code stored on the BitBucket platform, and contains a record of historical

 4 changes made to the files in the repository; (ii) a group of changes made to one or more files in a Git

 5 repository (e.g., adding, deleting, or modifying files in the repository) is called a “commit;” (iii) each

 6 commit in a Git repository also has certain metadata associated with it, including identifying information

 7 about who created each commit (e.g., a username and/or email address), when the commit was made,

 8 which files were affected by the commit and any changes made to those files, and, optionally, a

 9 summary (or “commit message”) describing the nature or purpose of those changes; and, (iv) the source

10 code and associated metadata are stored in a Git repository in a manner that allows users to verify the

11 integrity of the data in the repository.

12          13.    Dr. Edman will testify that, based on his review of the materials Mr. Min provided in

13 connection with his disclosures, only four out of over 60 source code “repositories” provided to the

14 Government by Mr. Min contained Git commit history information, 3 despite data which showed that

15 many of those repositories were previously stored on BitBucket in a Git repository format. Dr. Edman

16 will testify that of the four source code repositories provided by Mr. Min which did, in fact, contain

17 historical Git records, those records indicate that the earliest commit was to the “aml-bgcwallet”

18 repository which occurred on or about January 7, 2019, and that the last commit to that repository

19 occurred in March 2021. Dr. Edman will also describe his analysis which found that the remaining three

20 repositories were not created until on or about April 2, 2019, and did not reflect any development

21 activity after October 2019.

22          14.    Dr. Edman will also testify that a fifth source code “repository” provided by Mr. Min

23 (“androidapp”) contains only partial Git repository information. Dr. Edman will describe how the Git

24 software stores repository information in a standard, well-defined format, which includes historical

25 records (or “logs”) regarding the timeline of changes to the repository. Dr. Edman explain that the

26 “androidapp” source code repository provided to the Government by Mr. Min did not include the

27
            3
             Dr. Edman will testify that the only source code repositories provided by Mr. Min which
28
     contained Git commit history were: “aml-bgcwallet,” “corda,” “crossverify-ui,” and “mvp.”
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 1 repository’s “logs” file, among other standard Git repository information, and that the absence of such

 2 standard Git repository information suggests that the data was corrupted or otherwise manipulated to

 3 remove its historical record of changes. In either instance, Dr. Edman will explain, the data relied on by

 4 Mr. Min is incomplete and unreliable.

 5          15.    The remaining source code files on which Mr. Min relies, Dr. Edman will testify, were

 6 simply produced as a number of individual “zip” files containing “snapshots” of source code and other

 7 files from an unknown point in time, with no description regarding how those snapshots were created,

 8 obtained and validated by Mr. Min, and which did not contain reliable historical records and other

 9 metadata expected to be found in a Git repository. Dr. Edman’s will also testify to his analysis which

10 found that some of the snapshots of the “BitBucket repositories” Mr. Min provided did not contain any

11 source code at all, including a snapshot purportedly representing the source code for the Aten Coin

12 blockchain (“amlbitcoin-aml-atencoinblockchain-476cb6129d9e”).

13          16.    Consequently, as Dr. Edman will explain, without verifiable historical information, Mr.

14 Min’s opinions regarding when certain software was created or modified are speculative and based

15 largely on data that can be easily manipulated (e.g., much like editing a text file using Microsoft

16 Notepad). Dr. Edman will testify that while it is reasonable and common for an expert to analyze the

17 functionality of software by reviewing its source code, Dr. Edman will also testify that an expert would

18 not normally be able provide an opinion as to when certain source code was developed and over what

19 time period without having accurate and reliable records of changes made to that source code. Dr.

20 Edman will explain that relying on “comments” left by developers in the source code is not a reliable

21 method of determining when that source code was created.

22          17.    As Dr. Edman will testify, experts in source code analysis would typically rely on a

23 historical record of changes to software source code (e.g., commits to a Git repository) to form opinions

24 regarding when that source code was developed. In addition to it being unusual for an expert to provide

25 an opinion as to the development timeline of source code without a historical record of changes to that

26 source, Dr. Edman will testify that it would also be very unusual for software development “teams” to

27 develop, share, or store that source code stored in the manner in which Mr. Min reviewed them (i.e., as a

28 series of “zip” files without a record of changes to the source code). To the contrary, Dr. Edman will

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 1 explain how the typical means of accessing (or “cloning”) a Git repository creates a replica of not just

 2 the source code in that Git repository, but also the metadata and other commit history within that

 3 repository, which enables both software developers and source code reviewers to reliably review and

 4 manage changes to that repository.

 5             18.   Dr. Edman will opine that, in addition to “cloning” a repository, another common and

 6 reliable format used to obtain and analyze a Git source code repository is a Git “bundle.” Dr. Edman’s

 7 testimony will state that a Git bundle is a standard, commonly used format created by the Git software,

 8 which packages an entire repository into a single file (or “bundle”) and contains a complete backup of

 9 the repository as of a particular date or commit. Dr. Edman will testify that he has previously reviewed

10 and analyzed Git bundles produced in connection with recent litigation in which he testified as an expert

11 at trial.

12             B.    Mr. Min’s testimony “that nearly 16.5 million lines of code were committed and used
                     for development in the remaining AML Bitcoin repositories” and that such code “is
13                   reflective of at least 18-24 months’ of work performed by qualified and intelligent
                     developers” is speculative, inaccurate, and misleading.
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               19.   Mr. Min disclosed that he intends to testify at trial that “nearly 16.5 million lines of code
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     were committed and used for the development in the remaining AML Bitcoin repositories reviewed by
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     FTI.” (Min Discl. at 7.) Based on Mr. Min’s review of that source code, Mr. Min concluded that “the
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     quality and sophisticated nature of the source code reviewed by FTI is reflective of at least 18-24
18
     months’ worth of concentrated work performed by qualified and intelligent developers.” (Id.) Dr. Edman
19
     has reviewed the source code and other materials provided to the Government by Mr. Min and formed
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     the following opinions.
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               20.   First, Dr. Edman will testify that it is not clear from Mr. Min’s curriculum vitae what, if
22
     any, specialized education, training, or professional experience Mr. Min has that would qualify him to
23
     evaluate the “the quality and sophisticated nature” of computer source code, opine as to whether its
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     developers are “qualified and intelligent,” or quantify the level of effort it would take to develop that
25
     source code.
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               21.   Second, after reviewing Mr. Min’s disclosures and the source code he relied on, Dr.
27
     Edman will testify that Mr. Min provides no reliable bases for his assertion that “nearly 16.5 million
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 1 lines of code were committed” to the “AML Bitcoin repositories.” (Min Discl. at 7.) Dr. Edman will

 2 opine that Mr. Min failed to provide a description of the tools or the methodology he used to reach that

 3 conclusion, and that Mr. Min has overstated the actual number of lines of code by including data that

 4 experts would typically omit, such as documentation files, log files, lines representing non-functional (or

 5 “commented out”) code, and even blank lines containing no code whatsoever.

 6          22.     Third, Dr. Edman will testify that even if one accepted Mr. Min’s opinion as to the number

 7 of lines of code in the “AML Bitcoin repositories,” Mr. Min’s opinion that such code “is reflective of at

 8 least 18-24 months’ of work performed by qualified and intelligent developers” is speculative,

 9 misleading, and unsupported by the evidence relied on by Mr. Min. Dr. Edman’s own analysis

10 determined that much of the code Mr. Min appears to rely on comprises code that was written by

11 unrelated third parties and copied into the “AML Bitcoin repositories.” That code, in Dr. Edman’s

12 opinion, does not support Mr. Min’s assertion that the source code reflects “substantial and consistent

13 development of the underlying biometric verification software (and associated web and mobile

14 applications).” (Min Discl. at 4.)

15          23.     Finally, Dr. Edman will testify based on his own analysis and professional experience

16 reviewing source code that the remaining source code does not support Mr. Min’s opinion that it reflects

17 “concentrated work performed by qualified and intelligent developers.” (Min Discl. at 7.) On the

18 contrary, as Dr. Edman determined, the source code which was not copied from third party software

19 projects was substantially incomplete or non-functional, reflective of minimal or unskilled development

20 effort, and largely contradictory to Mr. Min’s opinion that the source code reflects “substantial and

21 consistent development of the underlying biometric verification software.” (Min Discl. at 4.)

22          24.     For example, Dr. Edman’s analysis determined that the source code snapshot purporting to

23 represent a version of the “AML Bitcoin” blockchain software (“amlbitcoin-amlwallet-77a028e6d3be”)

24 was actually a “fork” of the source code for the original Bitcoin software (“Bitcoin Core” 4). Dr. Edman

25 will explain that a fork is essentially a copy of the source code for an existing blockchain, but with

26 differences that make it incompatible with the original (i.e., “pre-fork”) blockchain.

27

28          4
                Bitcoin Core, https://web.archive.org/web/20250127095517/https://bitcoin.org/en/bitcoin-core/
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 1          25.     Dr. Edman will describe his comparison of the source code for the “AML BitCoin”

 2 blockchain and the Bitcoin Core blockchain, which found that the “AML BitCoin” source code did not

 3 include any changes reflecting the “development of the underlying biometric verification software” Mr.

 4 Min referenced in his disclosures. (Min Discl. at 4.) Further, Dr. Edman will testify that the “AML

 5 BitCoin” fork was likely created no earlier than February 2018 due to references in the source code to

 6 the headline of a news article published in or around February 2018. 5

 7          26.     Based on his review of the source code, Dr. Edman will testify that the “AML Bitcoin”

 8 blockchain source code was likely created by automatically replacing references to “Bitcoin” in the

 9 source code with references to “AML BitCoin” (e.g., “Bitcoin Core” became “AML BitCoin Core”). Dr.

10 Edman will testify that the minimal and unskilled effort in which the “AML Bitcoin” fork was created

11 resulted in references to website domains and source code repositories that did not exist based on his

12 review of historical records from sources including DomainTools 6 and the Internet Archive.7

13          C.       Mr. Min’s testimony that “AML Bitcoin was substantially close or fully developed
                     before the project was ended” is speculative and wholly unsupported by the
14                   evidence Mr. Min relied on.

15          27.     Mr. Min’s expert disclosures state that he intends to testify that “AML Bitcoin was

16 substantially close or fully developed before the project was ended” and that “transaction data on AML

17 Bitcoin’s Hyperledger Fabric blockchain” suggested “the [AML Bitcoin] project was completed around”

18 April 2020. (Min Discl. at 8.) As a basis for his opinion, Mr. Min cites FTI’s review of “various pieces

19 of software that comprised [sic] AML Bitcoin cryptocurrency,” which purportedly included, “data

20 collection functions of AML Bitcoin that were labeled ‘CrossVerify’” and “mobile applications for

21 identity verification.” (Min Discl. at 3-4.) Mr. Min also cited “verification logs” associated with

22 “CrossVerify’s biometric data collection and authentication features” as a basis for concluding that

23 “development began on integrating CrossVerify’s biometric technology with blockchain technology by

24 at least March 23, 2018.” (Min Discl. at 5.)

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           5
             SUV’s accelerator sticks at speeds up to 100 mph, FOX 5 New York (Published: February 14,
26 2018). https://web.archive.org/web/20200812150336/https://www.fox5ny.com/news/suvs-accelerator-

27 sticks-at-speeds-up-to-100-mph
            6
                DomainTools, https://web.archive.org/web/20250128114550/https://www.domaintools.com/
28          7
                Internet Archive Wayback Machine, https://web.archive.org/
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 1          28.    Dr. Edman, after reviewing the source code, transaction data, “verification logs,” and other

 2 data relied on by Mr. Min, will testify to his expert opinion that they (1) are not indicative of a

 3 blockchain that “integrated biometric identification technology with blockchain technology” (Min Discl.

 4 at 5); (2) did not require “a user to confirm their identity using data before the transaction was approved”

 5 (Min Discl. at 3); and (3) were not “substantially close,” “fully developed,” or “fully functional.” (Min

 6 Discl. at 8.) Instead, Dr. Edman will testify, based on his analysis of the source code provided by Mr.

 7 Min, that Mr. Min’s opinions rely almost entirely on his speculation regarding the functionality of

 8 “certain third-party software (including certain libraries and ‘APIs’),” which Mr. Min concedes was not

 9 within the scope of his review. (Id.)

10          29.    Dr. Edman will testify that the “verification logs” relied on by Mr. Min are contained

11 within a simple text file (“CrossVerifyDB.sql”) created by saving (or “exporting”) the contents of a

12 database to a file. Dr. Edman will testify that the exported “verification logs” which Mr. Min relied on

13 are derived from a standard, centralized database and do not reasonably demonstrate any integration

14 with a blockchain that “required a user to confirm their identity using data before the transaction was

15 approved.”

16          30.    Dr. Edman will offer his expert opinion that the “mobile applications for identity

17 verification” do not, in fact, implement any biometric verification either. Instead, as Dr. Edman will

18 testify, the applications essentially allowed users to take a “selfie” using their mobile device’s camera,

19 which was then uploaded to a web server. Dr. Edman will testify that the Android application associated

20 with the “verification logs” Mr. Min relies on, in particular, appears to have been based in part on an

21 application for overlaying large, cartoonish (or “googly”) eyes on the face of the mobile phone user. Dr.

22 Edman will also describe his review of the source code for both the purported Android and iOS “mobile

23 applications for identity verification.” Dr. Edman’s review found that the applications are incomplete

24 and that neither, in fact, implemented any biometric verification or integration with a blockchain.

25          31.    Dr. Edman will also testify to his review of the source code for the “backend” application

26 relied on by the mobile applications. He found that the backend, too, operated like a typical, centralized

27 web application and did not implement any biometric verification or integration with a blockchain.

28 Instead, Dr. Edman’s analysis determined that the application would simply rely on other traditional

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 1 (i.e., non-blockchain) web applications to purportedly conduct some biometric verification, which Mr.

 2 Min acknowledged was not available for his review. Similarly, Dr. Edman will testify, the backend

 3 application relied on other traditional (i.e., non-blockchain) web applications to purportedly integrate

 4 with a blockchain, which also was not available for Mr. Min to review.

 5          32.    Finally, Dr. Edman will explain that the “Hyperledger Fabric blockchain that recorded

 6 AML Bitcoin transactions” referenced by Mr. Min is distinct from and incompatible with the “AML

 7 BitCoin” software forked from the Bitcoin blockchain in or around February 2018. Dr. Edman will

 8 testify regarding his review of the databases associated with the purported “AML BitCoin” blockchain,

 9 which Mr. Min relied on to suggest “the project was completed around [April 2020].” (Min Discl. at 8.)

10 While Dr. Edman will testify that he determined the Hyperledger Fabric databases reflect blockchain

11 transactions that purportedly occurred in or around April 2020, Dr. Edman will testify that those

12 transactions are unrelated to the “verification logs” and associated “mobile applications for identity

13 verification” that Mr. Min based his opinions on. The Hyperledger transactions do not show that the

14 purported integration of biometric verification into blockchain transactions was “substantially close or

15 fully functional,” as Mr. Min intends to testify. (Id.)

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 1 IV.     EXPERT’S APPROVAL AND SIGNATURE ON DISCLOSURE

 2         Pursuant to Federal Rule of Criminal Procedure 16(a)(1)(G)(v), I, Matthew J. Edman, approve

 3 my expert witness disclosure, which contains my expected testimony to counter testimony that the

 4 defendant has disclosed.

 5

 6 DATED: February 5, 2025                               _______________________________
                                                         MATTHEW J. EDMAN
 7                                                       Partner and Co-Founder
                                                         NAXO Labs LLC
 8
                                                         45 Rockefeller Plaza, Suite 1964
 9                                                       New York, NY 10111

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     DATED: February 5, 2025                             Respectfully submitted,
11
                                                         ISMAIL J. RAMSEY
12                                                       United States Attorney
13

14                                                       ____________/s/_________________
                                                         CHRISTIAAN HIGHSMITH
15                                                       DAVID J. WARD
                                                         Assistant United States Attorneys
16

17                                                       MATTHEW CHOU
                                                         Special Assistant United States Attorney
18

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     USA DISCLOSURE OF REBUTTAL EXPERT TESTIMONY BY COMPUTER SCIENTIST, DR. EDMAN
     20-CR-00249 RS                          11
